Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 1 of 29 PageID: 30




   MARC J. GROSS, ESQ.
   FOX ROTHSCHILD LLP
   49 Market Street
   Morristown, New Jersey 07960
    (973) 992-4800
   mgross@foxrothschild.com
   Attorneys for Plaintiffs

                         UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF NEW JERSEY


    MATTHEW RICHARDS and MARS
    MEDIA, LLC, a New Jersey limited
    liability company,                        Civil Action No. 2:22-cv-01209

                          Plaintiffs,
                   v.                             ANSWER, JURY DEMAND AND
                                                      COUNTERCLAIM
    NIK LAMAS-RICHIE, RICHIE
    MEDIA CORPORATION, a Delaware
    corporation, and RELIC AGENCY,
    INC., a California corporation,

                          Defendants.

           Defendants, Nik Lamas-Richie (“Nik”), Richie Media Corp. (“RMC”) and Relic Agency,

   Inc. (“Relic”), (collectively, “Defendants”), by way of answer to the Complaint of Matthew

   Richards (“Richards”) and Mars Media, LLC (“Mars”), say as follows:

                                        AS TO THE PARTIES

           1.     Defendants are without sufficient information or knowledge to admit or deny the

   allegations contained in paragraph 1.

           2.     Defendants are without sufficient information or knowledge to admit or deny the

   allegations contained in paragraph 2.




   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 2 of 29 PageID: 31




           3.     Defendants admit the allegations contained in paragraph 3.

           4.     Defendants admit the allegations contained in paragraph 4.

           5.     Except to admit that RMC is a corporation formed under the laws of the State of

   Delaware, with its principal place of business located in Newport Beach, California, Defendants

   deny the allegations contained in paragraph 5.

           6.     Except to admit that Relic had a place of business located in Newport Beach,

   California, Defendants deny the allegations contained in paragraph 6.

           7.     Except to state that Relic was, and RMC is, in the business of providing internet

   marketing consulting services, Defendants deny the allegations contained in paragraph 7.

                                AS TO JURISDICTION AND VENUE

           8.     Defendants admit the allegations contained in paragraph 8.

           9.     Except to state that Relic had contact with Richards in the State of New Jersey

   specific to Richards’ services to Relic, Defendants deny the allegations contained in paragraph 9.

                 AS TO FACTS APPLICABLE TO ALL CLAIMS FOR RELIEF

           10.    Defendants admit the allegations contained in paragraph 10.

           11.    Defendants admit the allegations contained in paragraph 11.

           12.    Defendants admit the allegations contained in paragraph 12.

           13.    Defendants deny the allegations contained in paragraph 13.

           14.    Defendants deny the allegations contained in paragraph 14.

           15.    Defendants deny the allegations contained in paragraph 15.

           16.    Defendants deny the allegations contained in paragraph 16.

           17.    Except to state that Richards started Mars, Defendants deny the allegations

   contained in paragraph 17.


                                               2

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 3 of 29 PageID: 32




           18.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 18.

           19.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 19.

           20.    Except to state that the parties entered into a written agreement, which speaks for

   itself, Defendants deny the allegations contained in paragraph 20.

           21.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 21.

           22.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 22.

           23.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 23.

           24.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 24.

           25.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 25.

           26.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 26.

           27.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 27.

           28.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 28.




                                               3

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 4 of 29 PageID: 33




           29.   Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 29.

           30.   Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 30.

           31.   Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 31.

           32.   Defendants deny the allegations contained in paragraph 32.

           33.   Defendants deny the allegations contained in paragraph 33.

           34.   Defendants deny the allegations contained in paragraph 34.

           35.   Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 35.

           36.   Defendants deny the allegations contained in paragraph 36.

           37.   Defendants deny the allegations contained in paragraph 37.

           38.   Defendants deny the allegations contained in paragraph 38.

           39.   Defendants deny the allegations contained in paragraph 39.

           40.   Defendants deny the allegations contained in paragraph 40.

           41.   Defendants deny the allegations contained in paragraph 41.

           42.   Except to state that Nik asked to see the books relative to monies due him under the

   parties’ agreement, Defendants deny the allegations contained in paragraph 42.

           43.   Defendants deny the allegations contained in paragraph 43.

           44.   Defendants deny the allegations contained in paragraph 44.

           45.   Defendants deny the allegations contained in paragraph 45.




                                              4

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 5 of 29 PageID: 34




           46.    Except to state that Plaintiffs terminated the agreement, Defendants deny the

   allegations contained in paragraph 46.

           47.    Defendants deny the allegations contained in paragraph 47.

           48.    Defendants deny the allegations contained in paragraph 44.

           49.    Except to state that the referenced communication speaks for itself, Defendants

   deny the allegations contained in paragraph 49.

           50.    Defendants deny the allegations contained in paragraph 50.

           51.    Defendants deny the allegations contained in paragraph 51.

           52.    Defendants deny the allegations contained in paragraph 52.

           53.    Defendants deny the allegations contained in paragraph 53.

           54.    Except to state that the referenced communications speak for themselves,

   Defendants deny the allegations contained in paragraph 54. OR DENY

           55.    Defendants deny the allegations contained in paragraph 55.

           56.    Defendants deny the allegations contained in paragraph 56.

           57.    Defendants deny the allegations contained in paragraph 57.

                             AS TO THE FIRST CLAIM FOR RELIEF
                              (Account Stated Against Relic and Richie)

           58.    Defendants repeat and reiterate their answers to the allegations contained in the

   preceding paragraphs, as if fully set forth herein at length.

           59.    Except to state that Richards provided services to Relic, Defendants deny the

   allegations contained in paragraph 59.

           60.    Defendants deny the allegations contained in paragraph 60.

           61.    Defendants deny the allegations contained in paragraph 61.

           62.    Defendants deny the allegations contained in paragraph 62.

                                                 5

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 6 of 29 PageID: 35




           63.     Defendants deny the allegations contained in paragraph 63.

                             AS TO THE SECOND CLAIM FOR RELIEF
                                (Book Account Against Relic and Richie)

           64.     Defendants repeat and reiterate their answers to the allegations contained in the

   First Count, as if fully set forth herein at length.

           65.     Defendants deny the allegations contained in paragraph 65.

           66.     Defendants deny the allegations contained in paragraph 66.

           67.     Defendants deny the allegations contained in paragraph 67.

           68.     Defendants deny the allegations contained in paragraph 68.

           69.     Defendants deny the allegations contained in paragraph 69.

                              AS TO THE THIRD CLAIM FOR RELIEF
                                (Breach of Contract Against Defendants)

           70.     Defendants repeat and reiterate their answers to the allegations contained in the

   First and Second Counts, as if fully set forth herein at length.

           71.     Defendants deny the allegations contained in paragraph 71.

           72.     Defendants deny the allegations contained in paragraph 72.

           73.     Defendants deny the allegations contained in paragraph 73.

           74.     Defendants deny the allegations contained in paragraph 74.

                           AS TO THE FOURTH CLAIM FOR RELIEF
          (Tortious Interference With Prospective Economic Advantage Against Defendants)

           75.     Defendants repeat and reiterate their answers to the allegations contained in the

   First through Third Counts, as if fully set forth herein at length.

           76.     Defendants deny the allegations contained in paragraph 76.

           77.     Defendants deny the allegations contained in paragraph 77.

           78.     Defendants deny the allegations contained in paragraph 78.

                                                   6

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 7 of 29 PageID: 36




           79.     Defendants deny the allegations contained in paragraph 79.

           80.     Defendants deny the allegations contained in paragraph 80.

                             AS TO THE FIFTH CLAIM FOR RELIEF
                 (Tortious Interference with Contractual Relations Against Defendants)

           81.     Defendants repeat and reiterate their answers to the allegations contained in the

   First through Fourth Counts, as if fully set forth herein at length.

           82.     Defendants deny the allegations contained in paragraph 82.

           83.     Defendants deny the allegations contained in paragraph 83.

           84.     Defendants deny the allegations contained in paragraph 84.

           85.     Defendants deny the allegations contained in paragraph 85.

           86.     Defendants deny the allegations contained in paragraph 86.

           87.     Defendants deny the allegations contained in paragraph 87.

                              AS TO THE SIXTH CLAIM FOR RELIEF
                             (Unjust Enrichment Against Richards and Relic)

           88.     Defendants repeat and reiterate their answers to the allegations contained in the

   First through Fifth Counts, as if fully set forth herein at length.

           89.     Defendants deny the allegations contained in paragraph 89.

           90.     Defendants deny the allegations contained in paragraph 90.

           91.     Defendants deny the allegations contained in paragraph 91.

           92.     Defendants deny the allegations contained in paragraph 92.

                           AS TO THE SEVENTH CLAIM FOR RELIEF
                               (Quantum Meruit Against Defendants)

           93.     Defendants repeat and reiterate their answers to the allegations contained in the

   First through Sixth Counts, as if fully set forth herein at length.

           94.     Defendants deny the allegations contained in paragraph 94.

                                                  7

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 8 of 29 PageID: 37




           95.    Defendants deny the allegations contained in paragraph 95.

           96.    Defendants deny the allegations contained in paragraph 96.

                            AS TO THE EIGHTH CLAIM FOR RELIEF
                                (Injunctive Relief Against Defendants)

           97.    Defendants repeat and reiterate their answers to the allegations contained in the

   First through Seventh Counts, as if fully set forth herein at length.

           98.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 98.

           99.    Except to state that the parties’ agreement speaks for itself, Defendants deny the

   allegations contained in paragraph 99.

           100.   Defendants deny the allegations contained in paragraph 100.

           101.   Defendants deny the allegations contained in paragraph 101.

                             AS TO THE NINTH CLAIM FOR RELIEF
                              (Declaratory Judgment Against Defendants)

           102.   Defendants repeat and reiterate their answers to the allegations contained in the

   First through Eighth Counts, as if fully set forth herein at length.

           103.   Defendants neither admit nor deny paragraph 103 as it states a legal conclusion to

   which no response is required.

           104.   Defendants neither admit nor deny paragraph 104 as it states a legal conclusion to

   which no response is required.

           105.   Defendants deny the allegations contained in paragraph 105.

           106.   Defendants deny the allegations contained in paragraph 106.




                                                 8

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 9 of 29 PageID: 38




                             AS TO THE TENTH CLAIM FOR RELIEF
                                   (Breach of the Implied Covenant
                          of Good Faith and Fair Dealing Against Defendants)

           107.   Defendants repeat and reiterate their answers to the allegations contained in the

   First through Ninth Counts, as if fully set forth herein at length.

           108.   Defendants neither admit nor deny paragraph 108 as it states a legal conclusion to

   which no response is required.

           109.   Defendants neither admit nor deny paragraph 109 as it states a legal conclusion to

   which no response is required.

           110.   Defendants neither admit nor deny paragraph 110 as it states a legal conclusion to

   which no response is required.

           111.   Defendants deny the allegations contained in paragraph 111.

           112.   Defendants deny the allegations contained in paragraph 112.

                           AS TO THE ELEVENTH FORM OF RELIEF
                              (Promissory Estoppel Against Defendants)

           113.   Defendants repeat and reiterate their answers to the allegations contained in the

   First through Tenth Counts, as if fully set forth herein at length.

           114.   Defendants deny the allegations contained in paragraph 114.

           115.   Defendants deny the allegations contained in paragraph 115.

           116.   Defendants deny the allegations contained in paragraph 116.

                            AS TO THE TWELFTH FORM OF RELIEF
                                 (Libel and Slander Against Richie)

           117.   Defendants repeat and reiterate their answers to the allegations contained in the

   First through Eleventh Counts, as if fully set forth herein at length.

           118.   Defendants deny the allegations contained in paragraph 118.


                                                 9

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 10 of 29 PageID: 39




           119.    Defendants deny the allegations contained in paragraph 119.

                                      AFFIRMATIVE DEFENSES

                                  FIRST AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, in that they fail to state a claim upon which

   relief may be granted.

                                 SECOND AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of waiver.

                                  THIRD AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of estoppel.

                                 FOURTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches.

                                  FIFTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of accord and satisfaction.

                                  SIXTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by reason of recoupment.

                                SEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by reason of its own negligence or other

   wrongful, unlawful or unpermitted conduct.

                                 EIGHTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by reason of its breach of the agreements

   with Defendants.




                                                  10

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 11 of 29 PageID: 40




                                  NINTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims are barred, in whole or in part, by reason of the course of conduct of third

   parties over whom the Defendants had no control.

                                 TENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by reason of novation.

                               ELEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of unclean hands.

                               TWELFTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by reason of mistake.

                             THIRTEENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by reason of its frustration/prevention of

   performance and/or impossibility of performance.

                             FOURTEENTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims are barred, in whole or in part, by reason of the statute of frauds.

                              FIFTEENTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims are barred, in whole or in part, by reason of the applicable statute of

   limitations.

                              SIXTEENTH AFFIRMATIVE DEFENSE

           Any non-performance under the contract by Defendants is excused as a result of Plaintiffs’

   breaches of contract.

                            SEVENTEENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by reason of Defendants’ own unlawful

   conduct and/or fraudulent conduct.

                                                 11

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 12 of 29 PageID: 41




                              EIGHTEENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, because the injuries and damages alleged

   by Defendants were caused solely by the acts or omissions of Defendants and/or other persons,

   and no injuries or damages were proximately caused or contributed to in any way by any act or

   omission of Plaintiffs.

                              NINETEENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred by Defendants’ own material breaches of contract.

                               TWENTIETH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred because Defendants have suffered no damages as a result of

   Plaintiffs’ acts or omissions.

                             TWENTY-FIRST AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are because at all times relevant to this action, Plaintiff acted in good

   faith and without fraud, malice, or any intent to damage or harm Defendants.

                             TWENTY-SECOND AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by Defendants’ failure to mitigate any

   alleged damages. With respect to the purported causes of action, Defendants have failed to

   exercise reasonable diligence to mitigate its alleged damages and/or injuries. Accordingly,

   Defendants may not recover damages, or their damages are substantially diminished.

                             TWENTY-THIRD AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred by Defendants’ prior breach of the agreements, excusing any

   duty of further performance by Plaintiffs.

                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of set-off.


                                                 12

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 13 of 29 PageID: 42




                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred by Defendants’ fraudulent inducements.

           WHEREFORE, defendants Nik Lamas-Richie, Richie Media Corp. and Relic Agency,

   Inc., demand judgment dismissing the Complaint with prejudice, together with costs and such

   other and further relief as the Court deems equitable and just.

                                             COUNTERCLAIM

           Defendants/Counterclaimants Nik Lamas-Richie (“Nik”), Richie Media Corp. (RMC”) and

   Relic Agency, Inc. (“Relic”), (collectively, “Defendants”), by way of Counterclaim against

   plaintiffs Matthew Richards (“Richards”) and Mars Media, LLC (“Mars”), say as follows:

           1.     Defendants repeat and reiterate their Answer and Affirmative Defenses to the

   Complaint as if set forth fully herein.

                                        THE PARTIES

           2.     Nik is a resident of the State of California, residing in Newport Beach. Nik is the

   sole owner of Relic and RMC.

           3.     Relic is a corporation formed under the laws of the State of California, with a

   principal place of business located in Newport Beach, California. Relic was in the business of

   providing internet marketing consulting services.

           4.     RMC is a corporation formed under the laws of the State of Delaware, with its

   principal place of business located in Newport Beach, California. Nik, through RMC, provided

   services to Mars.

           5.     Richards is a New Jersey resident, residing at 234 Virginia Street, Westfield.

   Richards is the sole owner of defendant, Mars.



                                                13

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 14 of 29 PageID: 43




           6.       Mars is a New Jersey limited liability company with a principal place of business

   located at 234 Virginia Street, Westfield, New Jersey. Upon information and belief, Matt owns

   100% of the membership interests in Mars. Mars is in the business of providing internet marketing

   consulting services.

                                     JURISDICTION AND VENUE

           7.       This is an action seeking declaratory relief and compensatory damages. This Court

   has jurisdiction over this action based upon diversity of citizenship, pursuant to 28 U.S.C. § 1332.

   The amount in controversy involves the parties’ contractual agreements and the value of those

   contracts exceed seventy-five thousand dollars ($75,000), exclusive of interest and costs. In

   addition, Defendants/Counterclaimants have suffered damages in excess of seventy-five thousand

   dollars ($75,000).

           8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 as Plaintiffs conduct

   business in this District, and a substantial part of the events giving rise to the claims occurred in

   this District.

                                      FACTUAL ALLEGATIONS

           9.       Relic was engaged in the busines of providing internet marketing consulting

   services to celebrities and other high profile individuals with the goal of enhancing its clients’

   social media and internet presence.

           10.      In or about 2017, Relic engaged Richards as an independent contractor.

           11.      In or about the end of 2021, the parties agreed to change their relationship, where

   Richards would commence his own internet marketing services business, and Nik and/or Relic

   would provide consulting services to Richards and his newly formed venture, Mars.




                                                14

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 15 of 29 PageID: 44




           12.    Thus, Nik, Relic, Richards, Mars, and RMC entered into an Agreement, effective

   as of December 8, 2021 (the “Agreement”), pursuant to which the parties agreed that Richards

   would cease providing independent contracting services to Relic, and Nik would provide

   independent contracting services to Mars.

           13.    Pursuant to the Agreement, Nik served as an independent contractor, through RMC

   for Mars for a one-year period, commencing January 1, 2022, in return for payment of fifty (50%)

   percent of Mars’ net profits, on a monthly basis, as that term is defined in the Agreement.

           14.    Pursuant to the terms of the Agreement, Mars had the right to, and did, withhold

   payments from RMC for Nik’s services, for an amount up to the total of the Outstanding

   Compensation due to Richards.

           15.    In addition to the duties and responsibilities outlined in the Agreement, Nik and

   Relic agreed that Relic would cease operations, and would not compete with Mars as of January

   1, 2022.

           16.    Relic ceased operations on or before December 31, 2021, and Nik began providing

   services to Mars as of January 1, 2022.

           17.    Shortly thereafter, Nik learned that Richards had, prior to the agreement, and

   without Relic’s knowledge or consent, unlawfully gained access to Relic’s confidential customer

   list, including the user names and passwords to access the social media accounts for which Relic

   had the responsibility for creating content, including Facebook and Instagram pages, to steal and

   convert to himself and Mars, Relic’s confidential information and property, which Mars continues

   to unlawfully use and from which it derives income (the “Confidential Information”).

           18.    Having seized for himself and Mars all of Relic’s Confidential Information,

   Richards and Mars obviously no longer required Nik’s consulting services.


                                               15

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 16 of 29 PageID: 45




           19.         Thus, by correspondence dated January 21, 2022, Plaintiffs sought to terminate the

   Agreement for Cause, which termination was clearly contrived and without a factual basis.

           20.         Specifically, Nik has not:

                 (a)        engaged or participated in a competing business;

                 (b)        become associated with a competing business;

                 (c)        induced or attempt to induce any person to leave Mars’ employ or otherwise
                            interfere with the relationship between Mars and its employees;

                 (d)        solicited any employee of Mars;

                 (e)        solicited or attempted to solicit any customer or client of Mars;

                 (f)        solicited or attempt to solicit orders for services substantially similar to those
                            services offered by Mars.

           21.         Plaintiffs’ purported termination of the Agreement was a material breach of the

   Agreement.

           22.         As a result of Richards’ theft of Relic’s Confidential Information, and other

   unlawful acts in breach of the Agreement, and Mars’ wrongful termination of the Agreement, Nik

   has been denied financial and other benefits due to him under the Agreement.

           23.         As    a    result    of      the    foregoing   unlawful     course      of   conduct,

   Defendants/Counterclaimants have suffered and continue to suffer irreparable harm and damages.

                                                  COUNT ONE
                                             (Declaratory Judgment)

           20.         Defendants incorporate by reference the allegations in the preceding paragraphs of

   the Counterclaim as though set forth herein at length.

           21.         Based upon the foregoing, there exists an actual bona fide controversy as to

    Plaintiffs’ purported termination of the Agreement, as well as the parties’ status and rights as a

    result thereof.

                                                      16

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 17 of 29 PageID: 46




           22.    Accordingly, Defendants seek a declaration from this Court under N.J.S.A. 2A:16-

    50 et seq., declaring and adjudicating that Plaintiffs’ termination of the Agreement was without cause

    and a breach of the Agreement.

           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in their favor, and against Matthew Richards and

   Mars Media, LLC, jointly and severally, as follows:

                  a)      Declaring that Plaintiffs are in material breach of the Agreement;

                  b)      Declaring that the restrictive covenants in the Agreement, including the
                          covenants not to compete or solicit, null and void and of no further legal
                          effect;

                  c)      Compelling and Ordering the immediate return of Relic’s property,
                          including but not limited to its Facebook and Instagram pages;

                  d)      For damages, including consequential damages;

                  e)      For costs, interest, and reasonable attorneys’ fees;

                  f)      Pre and post judgment interest; and

                  g)      For such other and further relief as the Court may deem equitable and just.

                                              COUNT TWO
                                               (Conversion)

           23.    Defendants incorporate by reference the allegations in Count One of the

   Counterclaim as though set forth herein at length.

           24.    Plaintiffs have willfully and wrongfully exercised dominion and control over

   Relic’s property without Relic’s consent or authorization.

           25.    As a direct and proximate cause of Plaintiffs’ conversion, Defendants have

   suffered, and will continue to suffer, irreparable harm and damages.




                                                 17

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 18 of 29 PageID: 47




           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in their favor, and against Matthew Richards and

   Mars Media, LLC, jointly and severally, as follows:

                  a)     Declaring that Plaintiffs are in material breach of the Agreement;

                  b)     Declaring that the restrictive covenants in the Agreement, including the
                         covenants not to compete or solicit, null and void and of no further legal
                         effect;

                  c)     Compelling and Ordering the immediate return of Relic’s property,
                         including but not limited to its Facebook and Instagram pages;

                  d)     For compensatory damages, punitive damages and consequential damages;

                  e)     For costs, interest, and reasonable attorneys’ fees;

                  f)     For pre and post judgment interest; and

                  g)     For such other and further relief as the Court may deem equitable and just.

                                          COUNT THREE
                                        (Breach of Contract)

           26.    Defendants incorporate by reference the allegations in Counts One and Two of the

   Counterclaim as though set forth herein at length.

           27.    As set forth above, Plaintiffs have breached the Agreement by, inter alia,

   unlawfully terminating the Agreement, and by stealing and/or converting Relic’s property for

   themselves.

           28.    As a direct and proximate result of Plaintiffs’ breach of the Agreement, Defendants

   have suffered and continue to suffer irreparable harm and damages.

           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in their favor, and against Matthew Richards and

   Mars Media, LLC, jointly and severally, as follows:


                                               18

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 19 of 29 PageID: 48




                  a)      Declaring that Plaintiffs are in material breach of the Agreement;

                  b)      Declaring that the restrictive covenants in the Agreement, including the
                          covenants not to compete or solicit, null and void and of no further legal
                          effect;

                  c)      Compelling and Ordering the immediate return of Relic’s property,
                          including but not limited to its Facebook and Instagram pages;

                  d)      For compensatory damages, including consequential damages;

                  e)      For costs, interest, and reasonable attorneys’ fees;

                  f)      For pre and post judgment interest; and

                  g)      For such other and further relief as the Court may deem equitable and just.

                                         COUNT FOUR
                   (Breach of Implied Covenant of Good Faith and Fair Dealing)

           29.    Defendants incorporate by reference the allegations in Counts One through Three

   of the Counterclaim as though set forth herein at length.

           30.    As set forth above, Plaintiffs have committed unlawful acts, and have acted in bad

   faith in breach of their obligations of good faith and fair dealing.

           31.    As a direct and proximate result of Plaintiffs’ breaches of his obligations of good

   faith and fair dealing, Defendants have suffered and continue to suffer irreparable harm and

   damages.

           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in their favor, and against Matthew Richards and

   Mars Media, LLC, jointly and severally, as follows:

                  a)      Declaring that Plaintiffs are in material breach of the Agreement;

                  b)      Declaring that the restrictive covenants in the Agreement, including the
                          covenants not to compete or solicit, null and void and of no further legal
                          effect;


                                                 19

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 20 of 29 PageID: 49




                  c)      Compelling and Ordering the immediate return of Relic’s property,
                          including but not limited to its Facebook and Instagram pages;

                  d)      For compensatory damages, including consequential damages;

                  e)      For costs, interest, and reasonable attorneys’ fees;

                  f)      For pre and post judgment interest; and

                  g)      For such other and further relief as the Court may deem equitable and just.

                                          COUNT FIVE
                  (Tortious Interference with a Prospective Economic Advantage)

           32.    Defendants incorporate by reference the allegations in the Counts One through Four

   of the Counterclaim as though set forth herein at length.

           33.    Defendants had a reasonable expectation of economic gain, including an

   expectation of receiving compensation for Nik’s services and to satisfy certain obligations,

   including the Outstanding Compensation and Outstanding Loan Amount due under the

   Agreement, and the value of Relic’s property.

           34.    As set forth above, Richards and Mars intentionally and maliciously interfered with

   Nik’s expectation of economic gain by, inter alia, taking Relic’s assets, including the Confidential

   Information for themselves.

           35.    Plaintiffs’ interference with Defendants’ prospective economic advantage was not

   lawfully justified and is fraudulent, dishonest, and/or unlawful.

           36.    Plaintiffs’ conduct has been intentional, willful, wanton, and undertaken with the

   purpose of enriching themselves at the expense of Defendants.

           37.    As a direct and proximate cause of Plaintiffs’ tortious interference with prospective

   economic advantage, Defendants have suffered and continue to suffer irreparable harm and

   damages.


                                                20

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 21 of 29 PageID: 50




           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in their favor, and against Matthew Richards and

   Mars Media, LLC, jointly and severally, as follows:

                  a)     Declaring that Plaintiffs are in material breach of the Agreement;

                  b)     Declaring that the restrictive covenants in the Agreement, including the
                         covenants not to compete or solicit, null and void and of no further legal
                         effect;

                  c)     Compelling and Ordering the immediate return of Relic’s property,
                         including but not limited to its Facebook and Instagram pages;

                  d)     For compensatory damages, punitive damages and consequential damages;

                  e)     For costs, interest, and reasonable attorneys’ fees;

                  f)     For pre and post judgment interest; and

                  g)     For such other and further relief as the Court may deem equitable and just.

                                            COUNT SIX
                                         (Unjust Enrichment)

           38.    Defendants incorporate by reference the allegations in Counts One through Five of

   the Counterclaim as though set forth herein at length.

           39.    By reason of the foregoing, Plaintiffs have been unjustly enriched.

           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in their favor, and against Matthew Richards and

   Mars Media, LLC, jointly and severally, as follows:

                  a)     Declaring that Plaintiffs are in material breach of the Agreement;

                  b)     Declaring that the restrictive covenants in the Agreement, including the
                         covenants not to compete or solicit, null and void and of no further legal
                         effect;

                  c)     Compelling and Ordering the immediate return of Relic’s property,
                         including but not limited to its Facebook and Instagram pages;

                                               21

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 22 of 29 PageID: 51




                    d)     For compensatory damages, including consequential damages;

                    e)     For costs, interest, and reasonable attorneys’ fees;

                    f)     For pre and post judgment interest; and

                    g)     For such other and further relief as the Court may deem equitable and just.

                                            COUNT SEVEN
                                (Violation of the N.J. Trade Secrets Act)

              40.   Defendants incorporate by reference the allegations in Counts One through Six of

   the Counterclaim as though set forth herein at length.

              41.   Defendants’ Confidential Information including customer contact information,

   usernames and passwords, has economic value and are not generally known outside of Defendants

   and are the culmination of years of development.            Accordingly, Defendants’ confidential

   information and proprietary information constitutes a trade secret under the New Jersey Trade

   Secrets Act, N.J.S.A. 56:15-1 et seq. (the “Act”).

              42.   Defendants made reasonable efforts to ensure that their Confidential Information

   and proprietary information remained a secret.

              43.   Plaintiffs maliciously and willfully collected, obtained, are using Defendants’ trade

   secrets in violation of the Act.

              44.   Plaintiffs’ conduct is wrongful and was committed maliciously, fraudulently and

   oppressively, with the wrongful intention of injuring Defendants and with willful and conscious

   disregard of Defendants’ rights.

              45.   Defendants have suffered, and continue to suffer, irreparable harm and damages as

   a consequence of Plaintiffs’ misappropriation, conversation and exploitation of Defendants’ trade

   secrets.


                                                 22

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 23 of 29 PageID: 52




           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in their favor, and against Matthew Richards and

   Mars Media, LLC, jointly and severally, as follows:

                 a)      An injunction pursuant to N.J.S.A. 56:15-3, immediately and permanently
                         enjoining and restraining Plaintiffs from utilizing, disseminating, providing,
                         or otherwise making available any confidential information that reflects,
                         relates to, or otherwise concerns Defendants to any third party;

                 b)      Directing Plaintiffs to cease using and return any confidential information
                         that reflects, relates to, or otherwise concerns the Defendants that is in their
                         possession, custody, or control, and to identify any third party to whom they
                         have disseminated such information;

                 c)      An injunction, prohibiting Plaintiffs from servicing and/or soliciting any of
                         Defendants’ customers or prospects;

                 d)      An injunction, prohibiting Plaintiffs from continuing to possess or use
                         Defendants’ confidential and trade secret information;

                 e)      For an award of Defendants’ actual damages and lost profits they have
                         sustained as a result of the Plaintiffs’ unlawful acts, and to recover from
                         Plaintiffs the gains, profits and advantages Plaintiffs have attained as a
                         result of the wrongful conduct alleged herein.

                 f)      For an order awarding Defendants their attorneys’ fees and costs.

                 g)      Declaring that Plaintiffs are in material breach of the Agreement;

                 h)      Declaring that the restrictive covenants in the Agreement, including the
                         covenants not to compete or solicit, null and void and of no further legal
                         effect;

                 i)      Compelling and Ordering the immediate return of Relic’s property,
                         including but not limited to its Facebook and Instagram pages;

                 j)      For compensatory damages, including consequential damages;

                 k)      For costs, interest, and reasonable attorneys’ fees;

                 l)      For pre and post judgment interest; and

                 m)      For such other and further relief as the Court may deem equitable and just.


                                               23

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 24 of 29 PageID: 53




                                        COUNT EIGHT
                          (Misappropriation of Confidential Information)

           46.    Defendants incorporate by reference the allegations in Counts One through Seven

   of the Counterclaim as though set forth herein at length.

           47.    Defendants’ Confidential Information constitutes a trade secret.

           48.    Defendants have reasonable procedures and precautions to maintain the secrecy of

   their Confidential information.

           49.    Plaintiffs maliciously and willfully disclosed, shared, and misappropriated

   Defendants’ Confidential Information.

           50.    As a direct and proximate result of the Plaintiffs’ misappropriation of Defendants’

   Confidential Information, Defendants have suffered and continue to suffer irreparable harm and

   damages.

           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in, and against Matthew Richards and Mars Media,

   LLC, jointly and severally, as follows:

                  a)     An injunction pursuant to N.J.S.A. 56:15-3, immediately and permanently
                         enjoining and restraining Plaintiffs from utilizing, disseminating, providing,
                         or otherwise making available any confidential information that reflects,
                         relates to, or otherwise concerns Defendants to any third party;

                  b)     Directing Plaintiffs to cease using and return any confidential information
                         that reflects, relates to, or otherwise concerns the Defendants that is in their
                         possession, custody, or control, and to identify any third party to whom they
                         have disseminated such information;

                  c)     An injunction, prohibiting Plaintiffs from servicing and/or soliciting any of
                         Defendants’ customers or prospects;

                  d)     An injunction, prohibiting Plaintiffs from continuing to possess or use
                         Defendants’ confidential and trade secret information;



                                               24

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 25 of 29 PageID: 54




                  e)      For an award of Defendants’ actual damages and lost profits they have
                          sustained as a result of the Plaintiffs’ unlawful acts, and to recover from
                          Plaintiffs the gains, profits and advantages Plaintiffs have attained as a
                          result of the wrongful conduct alleged herein.

                  f)      For an order awarding Defendants their attorneys’ fees and costs.

                  g)      Declaring that Plaintiffs are in material breach of the Agreement;

                  h)      Declaring that the restrictive covenants in the Agreement, including the
                          covenants not to compete or solicit, null and void and of no further legal
                          effect;

                  i)      Compelling and Ordering the immediate return of Relic’s property,
                          including but not limited to its Facebook and Instagram pages;

                  j)      For compensatory damages, including consequential damages;

                  k)      For costs, interest, and reasonable attorneys’ fees;

                  l)      For pre and post judgment interest; and

                  m)      For such other and further relief as the Court may deem equitable and just.

                                            COUNT NINE
                                          (Misrepresentation)

           51.    Defendants incorporate by reference the allegations in Counts One through Eighth

   of the Counterclaim as though set forth herein at length.

           52.    Plaintiffs represented to Defendants that Plaintiffs would keep confidential

   Defendants’ Confidential Information and would enter into the Agreement for Nik to serve as a

   consultant for at least one year.

           53.    Plaintiffs made those representations to Defendants knowing that they were false,

   and to induce Defendants to enter into the Agreement, and to cease doing business as Relic.

           54.    Plaintiff made those representations with the intention that Defendants would rely

   upon Plaintiffs’ representations.



                                                25

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 26 of 29 PageID: 55




           55.    Defendants relied upon Plaintiffs’ representation by entering into the Agreement

   and by their cessation of doing business as Relic.

           56.    As a direct and proximate result of Defendants’ reliance upon Plaintiffs’

   misrepresentations, Defendants have suffered and continue to suffer irreparable harm and

   damages.

           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in, and against Matthew Richards and Mars Media,

   LLC, jointly and severally, as follows:

                  a)     Declaring that the restrictive covenants in the Agreement, including the
                         covenants not to compete or solicit, null and void and of no further legal
                         effect;

                  b)     For recission of the Agreement.

                  c)     Compelling and Ordering the immediate return of Relic’s property,
                         including but not limited to its Facebook and Instagram pages;

                  d)     For compensatory damages, punitive damages and consequential damages;

                  e)     For costs, interest, and reasonable attorneys’ fees;

                  f)     For pre and post judgment interest; and

                  g)     For such other and further relief as the Court may deem equitable and just.

                                            COUNT TEN
                                    (Negligent Misrepresentation)

           57.    Defendants incorporate by reference the allegations in Counts One through Nine of

   the Counterclaim as though set forth herein at length.

           58.    As a direct and proximate result of Plaintiffs’ negligent misrepresentations,

   Defendants have suffered and continue to suffer irreparable harm and damages.

           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and


                                               26

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 27 of 29 PageID: 56




   Richie Media Corp., request entry of judgment in, and against Matthew Richards and Mars Media,

   LLC, jointly and severally, as follows:

                  a)     Declaring that Plaintiffs are in material breach of the Agreement;

                  b)     Declaring that the restrictive covenants in the Agreement, including the
                         covenants not to compete or solicit, null and void and of no further legal
                         effect;

                  c)     Compelling and Ordering the immediate return of Relic’s property,
                         including but not limited to its Facebook and Instagram pages;

                  d)     For compensatory and consequential damages;

                  e)     For costs, interest, and reasonable attorneys’ fees;

                  f)     For pre and post judgment interest; and

                  g)     For such other and further relief as the Court may deem equitable and just.

                                         COUNT ELEVEN
                                        (Unfair Competition)

           59.    Defendants incorporate by reference the allegations in Counts One through Ten of

   the Counterclaim as though set forth herein at length.

           60.    As set forth at length above, Plaintiffs acts of utilizing Defendants’ confidential

   information to unlawfully compete constitutes common law unfair competition.

           61.    As a direct and proximate result of Plaintiffs’ unfair competition, Defendants have

   suffered and continue to suffer irreparable harm and damages.

           WHEREFORE, Defendants/counterclaimants Nik Lamas-Richie, Relic Agency Inc. and

   Richie Media Corp., request entry of judgment in, and against Matthew Richards and Mars Media,

   LLC, jointly and severally, as follows:

                  a)     An injunction pursuant to N.J.S.A. 56:15-3, immediately and permanently
                         enjoining and restraining Plaintiffs from utilizing, disseminating, providing,
                         or otherwise making available any confidential information that reflects,
                         relates to, or otherwise concerns Defendants to any third party;

                                               27

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 28 of 29 PageID: 57




                  b)      Directing Plaintiffs to cease using and return any confidential information
                          that reflects, relates to, or otherwise concerns the Defendants that is in their
                          possession, custody, or control, and to identify any third party to whom they
                          have disseminated such information;

                  c)      An injunction, prohibiting Plaintiffs from servicing and/or soliciting any of
                          Defendants’ customers or prospects;

                  d)      An injunction, prohibiting Plaintiffs from continuing to possess or use
                          Defendants’ confidential and trade secret information;

                  e)      For an award of Defendants’ actual damages and lost profits they have
                          sustained as a result of the Plaintiffs’ unlawful acts, and to recover from
                          Plaintiffs the gains, profits and advantages Plaintiffs have attained as a
                          result of the wrongful conduct alleged herein.

                  f)      For an order awarding Defendants their attorneys’ fees and costs.

                  g)      Declaring that Plaintiffs are in material; breach of the Agreement;

                  h)      Declaring that the restrictive covenants in the Agreement, including the
                          covenants not to compete or solicit, null and void and of no further legal
                          effect;

                  i)      Compelling and Ordering the immediate return of Relic’s property,
                          including but not limited to its Facebook and Instagram pages;

                  j)      For compensatory damages, including consequential damages;

                  k)      For costs, interest, and reasonable attorneys’ fees;

                  l)      For pre and post judgment interest; and

                  m)      For such other and further relief as the Court may deem equitable and just.



                                            JURY DEMAND

           Defendants hereby demand a trial by jury as to all issues so triable.




                                                28

   136615180.1
Case 2:22-cv-01209-CCC-JRA Document 10 Filed 08/09/22 Page 29 of 29 PageID: 58




                               DESIGNATION OF TRIAL COUNSEL

           Marc J. Gross, Esq. is hereby designated as trial counsel for the within matter.



                                                         FOX ROTHSCHILD LLP



   Dated: August 9, 2022                                 MARC J. GROSS, ESQ.
                                                         49 Market Street
                                                         Morristown, NJ 07960
                                                         (973) 992-4800
                                                         Attorneys for Defendants/Counterclaimants




                                                29

   136615180.1
